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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X                11/9/2020
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UNITED STATES                                                          :
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                                                                       :
                  -v-                                                  :       20-cr-110 (LJL)
                                                                       :
LAWRENCE RAY,                                                          :          ORDER
                                                                       :
                                    Defendant.                         :
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---------------------------------------------------------------------- :
                                                                       X

LEWIS J. LIMAN, United States District Judge:

        The Court is in receipt of a letter, Dkt. No. 95, from the Government regarding the
Court’s earlier order dated October 29, 2020. Dkt. No. 90. In that order, the Court stated that:
“The status of notice and production with respect to the two alleged victims will be provided to
counsel for the victim and to the Government,” by November 5, 2020. Id. According to the
Government, it did not receive that information and defense counsel has indicated that it does not
intend to provide it to the Government, but instead understands the Court’s order to meant that
the Court will provide this information to the Government. Id.

         The Court is also in receipt of an ex parte letter from the defense. The defense is directed
to file a redacted copy of its letter. The filed version should redact Paragraphs 12-17 in full.
Defendant is directed to file the redacted letter by November 9, 2020 at 5:00 p.m.

        SO ORDERED.


Dated: November 9, 2020                                    __________________________________
       New York, New York                                             LEWIS J. LIMAN
                                                                  United States District Judge
